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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
FRANCESCO GROSSI, Individually I Case No.:
and on Behalf of All Others Similarly Situated,
Plaintiff, | COMPLAINT AND JURY DEMAND

° PUTATIVE CLASS ACTION

HEALTH IQ INSURANCE SERVICES, INC.
oe Defendant.

INTRODUCTION
1. Plaintiff Francesco Grossi (“Plaintiff”) brings this Class Action Complaint for

damages, injunctive relief, and any other available legal or equitable remedies, resulting from the
illegal actions of Defendant Health IQ Insurance Services, Inc. (“Defendant”), in negligently
and/or willfully transmitting unsolicited commercial text messages to Plaintiff on Plaintiff's
cellular telephone, without Plaintiff's express consent, in violation of the Telephone Consumer
Protection Act, 47 U.S.C. § 227, et seq., (‘TCPA”), thereby invading Plaintiff's privacy.
Plaintiff alleges the following upon personal knowledge as to himself and his own acts and
experiences, and, as to all other matters, upon information and belief, including investigation
conducted by her attorneys.

2. The TCPA was designed to prevent calls and text messages like the ones

described herein, and to protect the privacy of citizens like Plaintiff. “Voluminous consumer
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complaints about abuses of telephone technology — for example, computerized calls dispatched
to private homes — prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132
S. Ct. 740, 744 (2012).

3. In enacting the TCPA, Congress intended to give consumers a choice as to how
corporate and similar entities may contact them, and made specific findings that “[t]echnologies
that might allow consumers to avoid receiving such calls are not universally available, are costly,
are unlikely to be enforced, or place an inordinate burden on the consumer.” TCPA, Pub. L. No.
102-243, § 11. In support of this, Congress found that:

Banning such automated or prerecorded telephone calls to the home, except
when the receiving party consents to receiving the call or when such calls
are necessary in an emergency situation affecting the health and safety of
the consumer, is the only effective means of protecting telephone
consumers from this nuisance and privacy invasion.
Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL 3292838, at *4
(N.D. Ill. Aug. 10, 2012) (citing Congressional findings on TCPA’s purpose).

4, Congress also specifically found that “the evidence presented to the Congress
indicates that automated or prerecorded calls are a nuisance and an invasion of privacy,
regardless of the type of call....” Id. at §§ 12-13.

5. The TCPA also expressly applies to unsolicited faxes as well as other forms of
media such as text messages.

6. Congress recognized that not only can unsolicited calls, faxes, and text messages
be a nuisance, but also may cause the receiver of the unsolicited communications to incur actual
out-of-pocket losses, such as for the use of paper and toner for unsolicited faxes.

7. With the advancement of technology, numerous courts have recognized the

TCPA’s applicability to unsolicited text messages to persons’ cellular telephones.
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8. Persons, like Plaintiff herein, have no control to stop unsolicited and unwanted
text messages to their cell phones.

9. Every transmission of a text message uses data, and the longer the text is, the
more data is used.

10. Once an unsolicited text message is received, not only is it a nuisance to the
receiver, but as importantly, that receiver is forced to incur unwanted message and/or data
charges from their cell phone carrier.

11. As set forth herein, that is exactly what occurred to Plaintiff and other members of
the putative class.

12. — Plaintiff and the members of the proposed class received unsolicited commercial
text messages from Defendant, and consequently incurred additional message and/or data
charges to their cell phone accounts, all because Defendant wished to advertise and market its
products and services for its own benefit.

JURISDICTION AND VENUE

13. This Court has federal question jurisdiction because this case arises out of
violations of federal law.

14. Venue is proper in the United States District Court for the District of New Jersey
pursuant to 18 U.S.C. § 1391(b) and 1441(a) because Plaintiff received the unlawful text
message from Defendant in Warren County, New Jersey.

PARTIES

15. Plaintiff is, and at all times mentioned herein was, a citizen and resident of the

State of New Jersey. Plaintiff is, and at all times mentioned herein was, a “person” as defined by

AT U.S.C. § 153 (39).
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16. Defendant Health IQ Insurance Services is, and at all times mentioned herein was,
a foreign corporation duly organized under the laws of the State of California with its principal
place of business in Mountain View, CA. Defendant is, and at all times mentioned herein was, a
corporation and is a “person,” as defined by 47 U.S.C. § 153 (39). Plaintiff alleges that at all
times relevant herein, Defendant conducted business in the State of New Jersey and in Warren
County, within this judicial district.

17. At all times during the relevant class period, Defendant owned and operated, and
continues to own and operate, an insurance business known as Health IQ Insurance Services.

18. Defendant created the policies and procedures described herein and, at all times
during the relevant class period, participated in, endorsed, implemented, and performed the
conduct alleged herein, specifically including the transmittal of the unlawful text messages that
are the subject of this action.

FACTS
19. On January 4, 2018, at approximately 3:54 a.m., Plaintiff received the following

text message on his cellular telephone ending in 2270 from Defendant or its agents:
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eeece ATRT = 7:07 AM 46% a >)

< Q @

+1 (908) 360-5634

Text Message
Today 3:54 AM

Hey Chester! We received your
request for life insurance from
Health IQ. We are the fastest
growing agency in the country
and have been featured in
CNBC, Forbes, and more. One
of our agents will reach out
shortly with your quote. Learn
more about us at healthig.com/
faq

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123 GQ space return

20. In addition to this unsolicited telemarketing message advertising for life insurance
rates, Defendant transmitted another unlawful telemarketing message to Plaintiff.

21. Specifically, on January 8, 2018, at approximately 4:48 p.m., Plaintiff received
the following advertisement set forth in an unlawfully transmitted text message on his cellular

telephone ending in 2270 from Defendant or its agents:
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wove. ATaT 4:48 PM BS% am)
<e ea
+1 (908} 360-5634

Text Message
Thursday 3:54 AM

Hey Chester! We received your
request for life insurance from
Health IQ. We are the fastest
growing agency in the country
and have been featured in
CNBC, Forbes, and more. One
of our agents will reach out
shortly with your quote. Learn
more about us at healthig.com/
faq

Today 4:48 PM

Hi Chester! I'm just reaching
out again from Health IQ to
follow up on your inquiry for life
insurance for Health Conscious
People. Would you like to set
up a time to chat?

Mm CO Qi wae @

22. The telephone number to which Defendant, or its agents, sent the above text
messages was assigned to a cellular telephone service for which Plaintiff incurs a charge
pursuant to 47 U.S.C. § 227(b)(1).

23, Plaintiff is not a customer of Defendant and has not purchased or used any goods
or services offered by Defendant at any time prior to the filing of this Complaint.

24. Nevertheless, Defendant, or its agents, sent the above unsolicited text messages
that included an advertisement.

25. Defendant, or its agents, sent the above unsolicited text messages that introduced
an advertisement.

26. Defendant, or its agents, sent the above unsolicited text messages that constituted
telemarketing.

27. Because the text messages at issue “includes or introduces an advertisement or
constitutes telemarketing,” Defendant was required to obtain Plaintiff's “prior express consent,”

as defined under the TCPA, before transmitting the text messages.
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28. | Under the TCPA, “prior express consent” is defined as:
an agreement, in writing, bearing the signature of the person called that
clearly authorizes the seller to deliver or cause to be delivered to the person
called advertisements or telemarketing messages using an automatic
telephone dialing system or an artificial or prerecorded voice, and the
telephone number to which the signatory authorizes such advertisement or
telemarketing messages to be delivered.
47 C.F.R. § 64.1200(£)(8).

29. Plaintiff never signed any type of agreement whatsoever with the Defendant.

30. As such, Plaintiff never gave prior express consent to receive Defendant’s
advertisements.

31. ‘Plaintiff further alleges that Defendant, or its agents, sent the above texts not only
to Plaintiff, but also to numerous other individuals, on their cellular telephones, without
obtaining their prior express consent.

32. The texts were sent to Plaintiff and the putative class for general marketing
purposes, for the commercial benefit of Defendant, and specifically to solicit the sale of life
insurance from Defendant.

33. The texts were not sent to Plaintiff and the putative class for emergency purposes
as defined by 47 U.S.C. § 227 (b)(1)(A)(i).

34. The text messages sent to Plaintiff and the putative class was sent via an
“automatic telephone dialing system” (““ATDS”), as defined by 47 U.S.C. § 227 (a)(1) and as
prohibited by 47 U.S.C. § 227 (b)(1)(A).

35. This ATDS has the capacity to store or produce telephone numbers to be called,
using a random or sequential number generator.

36. As outlined herein, the unsolicited commercial texts sent by Defendant or its

agents to Plaintiff and the putative class violated 47 U.S.C. § 227(b)(1).
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CLASS ACTION ALLEGATIONS

37. Plaintiff brings this action under Fed. R. Civ. P. 23 on behalf of a proposed class
defined as:

All persons in the United States who, between January 4, 2014 and the
present, received a text message on their cellular telephones from
Defendant or its agents, soliciting Defendant’s services.

38. The class for whose benefit this action is brought is so numerous that joinder of
all members is impracticable.

39. | The exact number and identities of the persons who fit within the proposed class
are ascertainable, in that Defendant maintains written and electronically-stored records of all
texts that were sent, the dates they were sent, and the telephone numbers to which they were sent.

40.‘ The proposed class is composed of over 1,000 persons.

41. The claims in this action arise exclusively from Defendant’s uniform policies as
alleged herein, from uniformly-worded texts sent by Defendant or its agents via an “automatic
telephone dialing system.”

42, —_No violations alleged are a result of any oral communications or individualized
interaction between any class member and Defendant.

43. | There are common questions of law and fact affecting the rights of the class
members, including, inter alia, the following:

a) Whether Defendant or its agents sent text messages to the cellular
telephones of Plaintiff and the class;

b) Whether the Defendant obtained express consent from Plaintiff and the
class before sending such text messages;

c) Whether Defendant’s uniform policies and common course of conduct, as
alleged herein, violated the TCPA;
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d) Whether Plaintiff and the class are entitled to damages arising from
Defendant’s conduct alleged herein; and

e) Whether Plaintiff and the class are entitled to an order for injunctive and

declaratory relief, enjoining Defendant from carrying on the policies
alleged herein.

44. Plaintiff is a member of the class he seeks to represent.

45. Plaintiff represents, and is a member of the Class, consisting of all persons
within the United States who had not granted Defendant prior express consent, who received a
text message or call made by or on behalf of Defendant that promoted Defendant’s products or
services, within four years prior to the filing of the complaint.

46. The claims of Plaintiff are not only typical of all class members, they are identical
in that they arise from Defendant’s uniform policies and form texts, and are based on the same
legal theories of all class members.

47. Plaintiff has no interest antagonistic to, or in conflict with, the class.

48. Plaintiff will thoroughly and adequately protect the interests of the class, having
retained qualified and competent legal counsel to represent himself and the class.

49. Defendant has acted and refused to act on grounds generally applicable to the
class, thereby making appropriate injunctive and declaratory relief for the class as a whole.

50. The prosecution of separate actions by individual class members would create a
risk of inconsistent or varying adjudications.

51. Aclass action is superior to other available methods for the fair and efficient
adjudication of the controversy since, inter alia, the damages suffered by each class member
were less than $500 per person and individual actions to recoup such an amount are not

economically feasible.
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52. Common questions will predominate, and there will be no unusual manageability

issues.
COUNT I
NEGLIGENT VIOLATIONS OF THE TCPA, 47 U.S.C. § 227, et seq.

53. Plaintiff incorporates by reference all of the above paragraphs of his Complaint as
though fully stated herein.

54. The foregoing acts and omissions of Defendant constitute numerous and multiple
negligent violations of the TCPA, including but not limited to each and every one of the above-
cited provisions of 47 U.S.C. § 227, et seq.

55. As a result of Defendant’s negligent violations of 47 U.S.C. § 227, et seq.,
Plaintiff and the class are entitled to an award of $500.00 in statutory damages, for each and
every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

56. Plaintiff and the class are also entitled to and seek injunctive relief prohibiting
such conduct in the future.

COUNTII

KNOWING AND/OR WILLFUL VIOLATIONS
OF THE TCPA, 47 U.S.C, § 227, et seq.

57. Plaintiff incorporates by reference all of the above paragraphs of his Complaint as
though fully stated herein.

58. The foregoing acts and omissions of Defendant constitute numerous and multiple
knowing and/or willful violations of the TCPA, including but not limited to each and every one

of the above-cited provisions of 47 U.S.C. § 227, et seq.

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59, As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227,
et seq., Plaintiff and the class are entitled to an award of $1,500.00 in statutory damages, for each
and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

60. Plaintiff and the class are also entitled to and seek injunctive relief prohibiting
such conduct in the future.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff and members of the class respectfully pray for the following
relief:

A. Certification of the class under Fed. R. Civ. P. 23;

B. On the First Count, as a result of Defendant’s negligent violations of 47 U.S.C. §
227(b)(2)(D), Plaintiff and each member of the Class is entitled to and requests
five hundred dollars ($500.00) in statutory damages, for each and every violation,
pursuant to 47 U.S.C. § 227(b)(3)(B);

C. On the Second Count, as a result of Defendant’s willful and/or knowing violations
of 47 U.S.C. § 227(b)(2)(D), Plaintiff and each member of the Class is entitled to
and requests treble damages, as provided by statute, up to one thousand five
hundred dollars ($1,500.00), for each and every violation pursuant to 47 U.S.C. §
227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);

D. An Order, pursuant to 47 U.S.C. § 227(b)(3)(A), enjoining Defendant from
violating 47 U.S.C. § 227(b)(2)(D);

E. Attorney’s fees and costs; and

F, Such other and further relief as the Court may deem just and proper.

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DEMAND FOR JURY TRIAL

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff, on behalf of

himself and all others similarly situated, demands a trial by jury on all questions of fact raised by

the Complaint.

Dated: January 12, 2018

By:

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CERTIFICATION PURSUANT TO L. CIV. R. 11.2
I certify that, to the best of my knowledge, this matter is not the subject of any other

action pending in any court or of any pending arbitration or administrative proceeding.

Dated: January 12, 2018 DeNITTIS OSEFCHEN PRINCE, P.C.

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